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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


CLARENCE DEAN,

              Plaintiff,
                                                           Case No. 1:23-cv-408
v.
                                                           Hon. Robert J. Jonker
CALHOUN COUNTY, et al.,

            Defendants.
______________________________/

                                            ORDER

              This matter is now before the Court on plaintiff’s “Assented to motion to extend

deadline to move to amend complaint” (ECF No. 54). Plaintiff’s motion will be denied.

              First, plaintiff has not shown good cause to amend a deadline in the case

management order (CMO). During the Rule 16 Scheduling Conference held on November 30,

2023, the Court granted plaintiff’s oral motion to file an amended complaint. See Order (ECF No.

38). Plaintiff filed the amended complaint that day. See Amended Compl. (ECF No. 39). The

CMO entered on December 1, 2023 requires that motions to amend pleadings must be filed by

December 31, 2023 (ECF No. 40, PageID.258). Plaintiff’s present motion seeks to extend that

deadline by amending a provision of the CMO. Pursuant to Fed. R. Civ. P. 16(b)(4), “A schedule

may be modified only for good cause and with the judge’s consent.”      While one of plaintiff’s

attorneys stated that he “was just recently released from the hospital due to emergency surgery,”

this ambiguous statement by one member of the law firm representing plaintiff does not

demonstrate good cause for amending the CMO.


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                  Second, plaintiff’s motion to amend the CMO will be denied because it does not

include a supporting brief as required by W.D. Mich. LCivR 7.1 which states that:

                 All motions, except those made orally during a hearing or trial, shall be
         accompanied by a supporting brief. Any party opposing a written motion shall do
         so by filing and serving a brief conforming to these rules. All briefs filed in support
         of or in opposition to any motion shall contain a concise statement of the reasons
         in support of the party's position and shall cite all applicable federal rules of
         procedure, all applicable local rules, and the other authorities upon which the party
         relies.

W.D. Mich. LCivR 7.1(a).

                  Third, plaintiff did not seek concurrence as required by W.D. Mich. LCivR 7.1(d)

which requires that all non-dispositive motions shall be accompanied by a separately filed

certificate setting forth in detail the efforts of the moving party to comply with the obligation

created by this rule.1

                  Fourth, plaintiff has not shown good cause to amend a deadline in the CMO so that

he can include a claim which on its face is part of a bankruptcy case. Plaintiff’s counsel justifies

the need for the extension with conclusory statements that “My bankruptcy counsel has informed

me that Corizon’s liabilities were transferred to CHS TX, Inc.” and that “They are not subject to

the bankruptcy stay so I intend to move to amend the complaint and add CHS TX, Inc. as a party.”

Counsel’s cryptic summary of the Corizon bankruptcy case (which affects a number of lawsuits in

this Court) and his bankruptcy counsel’s opinions regarding that bankruptcy do not demonstrate

good cause to amend the CMO.

                  For all of these reasons, plaintiff’s motion to extend the CMO’s deadline for filing

amended pleadings (ECF No. 54) is DENIED.


1
 The Court notes that a new version of this local rule “shall take effect with motions filed February 1, 2024 and after.”
See Amended Administrative Order No. 23-RL-113.
                                                           2
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             IT IS SO ORDERED.

Dated: January 5, 2024                   /s/ Ray Kent
                                         RAY KENT
                                         United States Magistrate Judge




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